                               IN THE UNITED STAES DISTRICT COURT
                                  WESTERN DISTRICT OF VIRGINIA

       JASON KESSLER,                                     :   Case No. 3:18-CV-00015
                                                          :
                       Plaintiff,                         :   (Judge MOON)
                                                          :
               v.                                         :
                                                          :   PLAINTIFFS MOTION FOR
       CITY OF CHARLOTTESVILLE ET AL.                     :   PRELIMANRY INJUNCTION
                                                          :   AND/OR TEMPORARY
                       Defendants.                        :   RESTRAINING ORDER
                                                          :
                                                          :




                                                 INTRODUCTION

               Plaintiff Jason Kessler is a Charlottesville VA resident and well known political

       activist. He was the principal organizer of the “Unite the Right” political rally held in

       Charlottesville on August 12, 2017. (hereafter “UTR1” for the 2017 event and “UTR2” for

       the proposed 2018 event.) Prior to holding UTR1 Mr. Kessler was forced to come before this

       Court and obtain Order compelling the City to permit UTR1 to occur. 1 This was necessary

       because many, if not all, elected officials in Charlottesville are opposed to Mr. Kessler’s

       political message and so are loath to allow him to enjoy his First Amendment rights within

       Charlottesville city limits. 2

               UTR1 has achieved national infamy due to violence that occurred at the rally

       including the deaths of two law enforcement officers and one counter protestor, several acts of

       violence, and resulting criminal prosecutions. The rally was so marred by misconduct that



       1 Case # 3:17-cv-00056 Kessler v. Chalrottesville et al. The Court may, and should, take judicial notice
       of the evidence and orders located in the UTR1 permit litigation.
       2 Kessler declaration




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       defendant Charlottesville commissioned a third party report to help it understand and address

       what went wrong. 3

               The Heaphy Report could not have been more clear that counter protestor violence is

       principally what went wrong. 4 As is well known to the City, both before UTR1 and since the

       issuance of the Heaphy Report, there is a tiny but hyperactive group of persons who are

       opposed to anything remotely approaching Mr. Kessler’s political message 5 This counter

       protestor activity is a classic “heckler’s veto” of Mr. Kessler’s speech. The City,

       understandably, does not want any violence occurring within it’s jurisdiction.

               The City knew before UTR1 that counterpotestor violence was likely in reaction to

       Mr. Kessler’s political speech. The City didn’t bother to separate counter protestors from Mr.

       Kessler’s UTR1 rally. As a direct result of the City’s failures, violence occurred at UTR1. 6

       Unbelievably, the City now uses the results of it’s own misconduct to justify the outright

       denial of a permit to Mr. Kessler to hold UTR2, as well as to conceal the true, content based,

       reason for the City’s denial of Mr. Kessler’s requested permit.

           A. Mr. Kessler applies for a permit for UTR2 and is denied by the City

               Jason Kessler applied for a permit to rally in Charlottesville’s Emancipation Park for

       August 11 and 12, 2018. The City received Mr. Kessler’s application on November 27, 2017.

       In a change of strategy from last year, the City outright denied Mr. Kessler a permit by letter

       over the signature of defendant Jones on December 11, 2018. The denial letter proffered three

       reasons why Mr. Kessler could not rally in Emancipation Park: First, that UTR2 presents a

       danger to public safety; Second that Mr. Kessler requested a permit for times when the park is

       3 Heaphy Report attached to Declaration of Kessler
       4 Heaphy at p. 3; 162; 182-183; 187.
       5 These persons are often referred to, or call themselves, AntiFa. See Heaphy at pg. 123 “Antifa refused

       to agree to non-violence.”
       6 Heaphy p. 162.




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       not available for use; and Third, that Mr. Kessler has not obtained insurance for the UTR2

       event. Each City objection fails and so Mr. Kessler is entitled to requested permit.

           1. UTR2 does not present a danger to public safety

                The Heaphy Report established that counter protestors threatened violence prior to

       UTR1 and that counter protestors engaged in violence at UTR1. 7 Mr. Kessler has received or

       is aware of numerous threats of counter protestor violence regarding UTR2. 8 Counter

       protestor misconduct constitutes a heckler’s veto and cannot be used as a justification to shut

       down Mr. Kessler’s speech by the City. Berger v. Battaglia, 779 F.2d 992, 1001 (4th Cir.

       1985).

                At deposition the City repeatedly referred to “prior experience” with Mr. Kessler as
                                                          9
       what the City means by danger to public safety.        However, when asked to be more specific

       the City merely referred to two sections of the Complaint in separate litigation and one section

       of the Heaphy Report. 10

                The Heaphy Report concludes that there were no real injuries or property damage on

       August 11 torchlight rally portion of UTR1. It further reports that the UVA police chief was

       unimpressed with the torchlight rally and the only real problem with that portion of UTR1

       was the content of the speech. 11

                As to August 12 portion of UTR1 Mr. Kessler’s demurrer is pending in state court and

       the City simply cannot rely on unproven allegations or allegations of legal conduct to justify

       their permit denial. In addition the City’s own Heaphy Report concludes that counter




       7 Heaphy p 123, 129, 146, 162, 182, 187
       8 Kessler declaration
       9 Deposition transcript pending
       10 Deposition transcript pending
       11 Heaphy p. 120.




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       protestors are the source of the problems that the City now wishes to call “prior experience

       with Jason Kessler”. 12

                 The City can not use heckler’s veto activity and it’s own failures as an excuse to deny

       Mr. Kessler a permit. Therefore, the City’s first listed reason fails to support it’s denial of Mr.

       Kessler’s permit.

            2. UTR2 need not operate outside normal park hours

                 At deposition the City admitted that it’s second listed reason for denial was

       insubstantial and easily remedied. That is, the City admitted that it is possible to simply grant

       a permit for possible park operating hours independent of what hours were requested in a

       permit.

                 The City did not explain why this common courtesy was not being extended to Mr.

       Kessler but did state that Kessler had not amended his application to list the correct hours. In

       this the City is in error. While it is technically true that Mr. Kessler did not file an amended

       application, it is also true that Mr. Kessler e-mailed the City and offered to restrict UTR2 to
                                 13
       the appropriate hours.         Therefore, the City’s second listed reason fails to support it’s denial

       of Mr. Kessler’s permit.

            3. Mr. Kessler need not have insurance to hold UTR2

                 The City’s third listed reason is expressed in the bureaucratic terminology of the

       City’s policy manual. At deposition however, the City admitted that this reason refers to Mr.

       Kessler not having obtained event insurance for UTR2. But the City did not require insurance
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       for an event such as UTR2 at the time Mr. Kessler applied for a permit.                 In addition Mr.

       Kessler was unable to obtain event insurance for UTR1 due to counter protestor complaints to

       12 Heaphy p 123, 129, 146, 162, 182, 187
       13 Kessler declaration
       14 Kessler declaration




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       the insurance company. 15 The City may not use prohibitively expensive, much less practically

       unattainable insurance as a reason to deny a permit. Forsyth County v. Nationalist Movement,

       505 U.S. 123, 133 (1992).

                 Therefore, the City’s third listed reason fails to support it’s denial of Mr. Kessler’s

       permit.



            B. Preliminary Injunction

                 1. The City’s ongoing attacks on Mr. Kessler’s First Amendment rights is based

                    on the content of his speech

                 The principal inquiry in determining content-neutrality in speech cases generally is

       whether the government has adopted a regulation of speech because of disagreement with the

       message it conveys. Clark v. Community for Creative Non-Violence, 468 U.S. 288, 295

       (1984). The government's purpose is the controlling consideration.

                 City elected officials are mostly, or entirely, opposed to Mr. Kessler’s free speech

       activity. 16 The City admitted at deposition that a great deal of political pressure is being

       brought to bear on the subject of Mr. Kessler and his political activity. 17 And, the City has

       done nothing since UTR1 to alter the finding of this Court that the City illegally revoked the

       UTR1 permit based on the content of Mr. Kessler’s speech. 18 The conclusion is inescapable.

       The City is suppressing Mr. Kessler’s speech due to it’s content. The City may not join in or

       acquiesce in a heckler’s veto of Mr. Kessler’s speech. Berger v. Battaglia, 779 F.2d 992, 1001

       (4th Cir. 1985), Lefemine v. Wideman, 672 F. 3d 292 (4th Cir. 2012) at FN 3. The City may


       15 Kessler declaration
       16 Kessler declaration
       17 Deposition transcript pending
       18 3:17cv00056 at DE 21 Order of the Court




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       not deny Mr. Kessler a permit based on the content of his speech. Reed v. Town of Gilbert,

       135 S. Ct. 2218, 2226 (2015.)

              2. Mr. Kessler has a likelihood of success on the merits

              As shown above none of the City’s proffered reasons for denying Mr Kessler a permit

       for UTR2 are legitimate as applied to Mr. Kessler and UTR2. The City is not even attempting

       to narrowly tailor it’s response to the UTR2 application to protect Mr. Kessler’s rights. They

       just want him to go away. This the City cannot do. Mr. Kessler will likely succeed on the

       merits of his claims and is therefore entitled to his requested relief.



          C. Conclusion

              For all the reasons above, Mr. Kessler is likely to succeed on the merits of his claims,

       has a First Amendment right to organize and engage in the UTR2 rally, and is therefore

       entitled a permit for same.

              Accordingly, this Court should grant a preliminary injunction and/or temporary

       restraining order compelling the City to issue Mr. Kessler a permit for UTR2.



                                                              Respectfully Submitted,

                                                              s/ James E. Kolenich PHV
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                                                            s/ Elmer Woodard
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                                      CERTIFICATE OF SERVICE

              A true copy of the foregoing was served via the Court’s CM/ECF system on June 22,
       2018 as listed below:

       All parties of record

       No one entitled to service has requested or is need of service by other means.


                                                            s/ James E. Kolenich PHV

                                                            ______________________
                                                            James E. Kolenich (OH 77084)




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